                             Case 1:23-mj-00071-RMM Document 5 Filed 04/05/23 Page 1 of 1

AO 442 (Rev. 11111) Arrest Warrant




                                                  UNITED STATES DISTRICT COURT
                                                                                             for the

                                                                                  District of Columbia

                        United States of America
                                      v.                                                       )
                                                                                                     Case: 1:23~mjB00071
                                                                                               )
                 Heather Kepley, and                                                                 Assigned to: Judge Meriweather, Robin M.
                                                                                               )
                 Anthony Nolf                                                                        Assign Date: 4/3/2023
                                                                                               )
                                                                                                     Desoription: COMPLAINT WI ARREST WAR.RANT
                                                                                               )
                                                                                               )
                                 Defendants


                                                                           ARREST WARRANT
To:         Any authorized law enforcement officer

            YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                  Heather Kepley
                                      ----------~~-----------------------------------------------------
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment             o    Superseding Indictment                               o Information          o   Superseding Information           N Complaint
o     Probation Violation Petition                      o       Supervised Release Violation Petition                   o Violation    Notice       0 Order of the Court

This offense is briefly described as follows:
18 U.S.C. § 1752(a)(I)- Entering and Remaining in a Restricted Building or Grounds
18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds




                                                                                                                                 2023.04.03
Date:             04/03/2023
                                                                                                   P~         --A(Wt'.....u.,fb- 13:37:30 -04'00'
                                                                                                                         Issuing officer's signature


City and state:                       Washington, D.C.                                                 Robin M. Meriweather,            U.S. Magistrate Judge
                                                                                                                           Printed name and title


                                                                                            Return

            This warrant was received on                 (date)         11 /1 /12                  , and the person was arrested on       (date)        Y/S/iA3  j


at   (city and state)       L ()",)        Ale   k   Ie.. fOP     I",   \1"',;. ({O"




Date:


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                                                                                                                          Printed name and tl\le
